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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

PNC BANK, NATIONAL ASSOCIATION,                     Case No.
a national banking association,

      Plaintiff,

v.

GLOBALMAX LLC, a Florida limited
liability company, and MATIAS MOLINA,
individually

      Defendants.
                                             /

                                  COMPLAINT

      Plaintiff, PNC BANK, NATIONAL ASSOCIATION, ("PNC BANK")

hereby sues Defendants, GLOBALMAX LLC, a Florida limited liability company

(“GLOBALMAX”),         and   MATIAS       MOLINA,      individually    (“MOLINA”)

(collectively “Defendants”) and as grounds therefore alleges as follows:

                                     PARTIES

      1.     Plaintiff, PNC BANK, is a national banking association chartered

under the laws of the United States in the State of Delaware. PNC BANK's principal

place of business is in the Commonwealth of Pennsylvania. PNC BANK's main

office, as stated in its Articles of Association, is located in Wilmington, Delaware,
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and as such, it is a citizen of Delaware (and Pennsylvania) for purposes of diversity

jurisdiction. PNC is duly authorized to conduct business in the State of Florida.

      2.     Defendant, GLOBALMAX LLC, is a Florida limited liability company

registered to do business with the Secretary of State of Florida with its principal

place of business and office headquarters located at 13118 Rushtone Court, Orlando

(Orange County), Florida, and is a citizen of the State of Florida.

      3.     Defendant, MATIAS MOLINA, individually, is an individual and is a

resident of and is domiciled in Orange County Florida, at 13118 Rushtone Court,

Orlando Florida, and is a citizen of the State of Florida, and he is otherwise sui juris.

                          JURISDICTION AND VENUE

      4.     Jurisdiction is proper under 28 U.S.C. §1332(a) based upon complete

diversity of citizenship between PNC BANK on one hand and the Defendants on the

other, and an amount in controversy that exceeds $75,000,00, exclusive of interest

and costs.

      5.     Venue is proper in this district as the Defendants are located within this

district and the events giving rise to these claims occurred in this district. See 28

U.S.C. §1391.

                           GENERAL ALLEGATIONS

      6.     That on or about February 18, 2020, Defendant, GLOBALMAX

executed and delivered to Plaintiff, PNC BANK, that certain PNC BANK Business


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Loan Application, and in connection therewith, GLOBALMAX LLC, as Borrower,

and PNC BANK, as Lender, entered into that certain Small Business Line of Credit

Agreement dated February 19, 2020 (collectively “Loan Documents”). True and

correct copies of the Loan Documents are attached hereto and incorporated herein

by refence and marked as Composite Exhibit “A”.

      7.    Plaintiff, PNC BANK, owns and holds the Loan Documents.

      8.    That pursuant to the Loan Documents, GLOBALMAX was required to

pay minimum monthly payments as set forth in Paragraph 11 of the Small Business

Line of Credit Agreement (see Composite Exhibit “A”).

      9.    That GLOBALMAX defaulted in its obligation to the Plaintiff under

the Loan Documents by failing to pay the October 19, 2020 monthly payment in the

amount of $1,523.03 and all subsequent monthly payments due thereunder.

      10.   That, as a result, Plaintiff, pursuant to its rights under the terms of the

Loan Documents, has elected to accelerate all sums due under the Loan Documents.

      11.   The Defendant, GLOBALMAX, owes the Plaintiff, PNC BANK, principal

in the amount of Ninety-Nine Thousand, Nine Hundred and Fifty-Two dollars and 74/100

cents ($99,952.74), plus accrued interest, late charges and any other charges due

under the Loan Documents.




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                                    COUNT I
                           (Breach of Loan Documents)

      12.    This is an action for damages in excess of $75,000.00, exclusive of fees,

interest and costs.

      13.    Plaintiff realleges and reincorporates paragraphs 1 through 11 as

though fully set forth herein.

      14.    Plaintiff has retained the undersigned counsel and is obligated to pay a

reasonable fee for its services, and the Defendant, GLOBALMAX, has agreed, that

Plaintiff shall be entitled to recover its reasonable attorney's fees and costs incurred

in collecting the sums due under the Loan Documents.

      15.    All conditions precedent to the filing of this action have occurred, have

been performed or have been waived.

      WHEREFORE, Plaintiff, PNC BANK, NATIONAL ASSOCIATION

demands judgment against the Defendant, GLOBALMAX LLC, for principal in the

amount of Ninety-Nine Thousand, Nine Hundred and Fifty-Two dollars and 74/100 cents

($99,952.74), plus accrued interest, late charges, attorneys’ fees and costs and any

other sums due and owing under the Loan Documents, and for such further relief as

this Court may deem appropriate.




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                                   COUNT II
                              (Breach of Guaranty)

      16.    This is an action for damages in excess of $75,000.00, exclusive of fees,

interest and costs.

      17.    Plaintiff realleges and reincorporates paragraphs 1-11 as though fully

set forth herein.

      18.    That on or about February 18, 2020, Defendant, MOLINIA, in

consideration of and to induce Plaintiff into entering into the Loan Documents,

made, executed and delivered to Plaintiff a contract in writing, whereby MOLINIA

guaranteed payment of all amounts, payments and charges due under the Loan

Documents (“Guaranty”). A true and correct copy of the Guaranty is attached and

within Composite Exhibit "A”.

      19.    That Defendant, MOLINA, defaulted under the terms of his Guaranty by

failing to pay the sums due and owing under the Loan Documents.

      20.    Accordingly, there is now due and owing from MOLINIA, principal in

the amount of Ninety-Nine Thousand, Nine Hundred and Fifty-Two dollars and 74/100

cents ($99,952.74), plus accrued interest, late charges and any other charges due

under the Loan Documents.

      21.    Plaintiff has retained the undersigned counsel and is obligated to pay a

reasonable fee for its services, and Defendant, MOLINIA, has agreed that Plaintiff



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shall be entitled to recover its reasonable attorney's fees and costs incurred in

collecting the sums due under the Loan Documents and in enforcing of his Guaranty.

      22.    All conditions precedent to the filing of this action have occurred, have

been performed or have been waived.

      WHEREFORE, Plaintiff, PNC BANK, NATIONAL ASSOCIATION

demands judgment against the Defendant, MATIAS MOLINA, individually, for

principal in the amount of Ninety-Nine Thousand, Nine Hundred and Fifty-Two dollars

and 74/100 cents ($99,952.74), plus accrued interest, late charges, attorneys’ fees and

costs and any other sums due and owing under the Loan Documents, and for such

further relief as this Court may deem appropriate.



                                                /s/ Ronald M. Emanuel
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